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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                          EASTERN DIVISION AT LONDON
                           CASE NO. 6:22-cv-00007-REW-HAI

MARY WILLIAMS                                                                   PLAINTIFF

v.                              DISCLOSURE STATEMENT


AETNA LIFE INSURANCE COMPANY                                                  DEFENDANT


        The undersigned, counsel of record for AETNA LIFE INSURANCE COMPANY,

defendant, furnishes the following in compliance with Fed. R. Civ. P. 7.1:

       Aetna Life Insurance Company has the following parent corporation(s): Aetna Life

Insurance Company is a wholly owned subsidiary of Aetna Inc. Aetna Inc. is a wholly owned

subsidiary of CVS Pharmacy, Inc. CVS Pharmacy, Inc. is a wholly owned subsidiary of CVS

Health Corporation, which is a publicly traded company. No publicly held corporation owns

10% or more of Aetna Life Insurance Company’s stock.


Date: March 21, 2022

                                             Respectfully submitted,

Warren von Schleicher (IL-6197189)           By: /s/ Warren von Schleicher
SMITH | VON SCHLEICHER + ASSOCIATES          Attorney for Defendant,
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                                 CERTIFICATE OF SERVICE

I certify that on March 21, 2022, I electronically filed the foregoing with the Clerk of the above
Court using the CM/ECF system, which will send notification of such filing on the following
attorney:

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                                                     /s/ Warren von Schleicher
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